 Case 3:20-cv-03677-N-BK Document 32 Filed 05/27/22                Page 1 of 1 PageID 156
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 WINSTON WESLEY NOLES,                         §
                                               §
             PLAINTIFF,                        §
                                               §
                                               §
 V.                                            §     CIVIL CASE NO. 3:20-CV-3677-N-BK
                                               §
 NICK DIAL, POLICE OFFICER,                    §
 ROYSE CITY TX, IN HIS                         §
 INDIVIDUAL CAPACITY AND KEITH                 §
 SHORT, POLICE OFFICER, ROYSE                  §
 CITY TX, IN HIS INDIVIDUAL                    §
 CAPACITY,                                     §
                                               §
             DEFENDANTS.                       §

      ORDER ACCEPTING FINDINGS, CONCLUSIONS AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions and a recommendation in

this case. No objections were filed. The District Court reviewed the proposed findings,

conclusions and recommendation for plain error. Finding none, the Court ACCEPTS the

Findings, Conclusions and Recommendation of the United States Magistrate Judge.

Accordingly, Plaintiff’s Fourth and Fourteenth Amendment claims and his First Amendment

claims for right of redress and prior restraint are DISMISSED WITH PREJUDICE.

        SO ORDERED this 27th day of May, 2022.



                                            _________________________________
                                            UNITED STATES DISTRICT JUDGE
